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MDL
EXHIBIT
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it's like the third strike kind of thing, and I'm just -- I
have to make sure that someone's going to have the utmost
duty and loyalty to the class.

MR. HAVILAND: My problem, your Honor, is, when I
was at Kline & Specter, we were engaged by a number of firms
to work with them. When Kline & Specter decided to pull out
of these cases, we were left with them. So this is a case
that I had the responsibility for by a prior arrangement.

I want you to see the case management order that's
been proposed. Andy Jackson proposed it. We agree with it.
It's got coordination under CMO 9 directly. We've always
agreed with the defendants that this case should be under the
rubric of the MDL, despite the fact it went back to state
court.

And I know you understand from Judge Stearns what
happened there. Lupron was an unfortunate circumstance where
cases were filed at the same time and proceeded to trial in
state court, and it just so happens that the case got settled
up here. And it got worked out with a lot of work by the
lawyers and the attorneys general, and it got resolved.

And, you know, I won't go back and revisit the fact
that there were thousands of folks that were unhappy about
that, and we were representing them directly by direct
retainer agreements. It's one of the problems you have, as

in this case, where I represent a dozen folks directly.

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1 Mrs. Howe, for instance, in AstraZeneca -- I see Mr. Wise is
2 in the courtroom -- she paid 50 percent out of pocket, and
3 the settlement doesn't accomplish her issue. So it's still a

4 problem, but we're working together cooperatively. We've had

5 a call about that to try to resolve that.

6 THE COURT: It's just she's not part of the class. :
7 It doesn't mean that you can't represent her separately ona |
8 separate cause of action. She's just not part of this class

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9 because of the common question issue. But putting that

10 aside, I need to trust you. Let's get past all the legal --

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11 MR. HAVILAND: Sure, absolutely.
12 THE COURT: I need to trust you, and I keep trying
13 to make sure that if there's a consensus among the

14 plaintiffs' team, well, I'll trust you. But truthfully, at
15 this point, I don't trust you. I mean, that sounds like a

16 very mean thing to say, but, you know, at some point I tell

17 people, "You make your bed, you lie in it." You know, I put
18 aside the Stearns things -- well, okay you started a new
19 chapter -- and then there were all the problems with the

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20 mediation in front of Eric Green, and there was, like, just

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21 this huge human cry about what happened, and I said, "All

22 right, well, that's contested." And then I got the

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23 affidavits from these class reps saying, "I'm going to pull

24 out unless it's me," that makes me worried that you were more

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25 concerned about you than you were about the class reps. And

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1 then I sealed it, and then I see this, and I feel like you

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2 weren't --

3 MR. HAVILAND: I'm concerned about those clients,

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4 your Honor. That's the number one thing.

5 THE COURT: The what?
6 MR. HAVILAND: I'm concerned about those clients.
7 I've always been concerned about those clients. They're the
8 folks represented since 2001 in Lupron and this case. This

9 case is a case that we cocounseled with the Local 68
10 counsel. We encouraged this coordination for the
11 Keefe Bartels firm so that your Honor would know fully about

12 this, as soon as Judge Bassler got appointed with his

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13 experience as a federal judge, that he would speak with you

14 and that there wouldn't be a problem. We're trying to avoid

15 that.
16 I think Mr. Jackson will agree, we've worked
17 cooperatively to make sure that we don't have a problem.

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18 Nobody wants another Lupron. I certainly don't want another

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19 Lupron, your Honor, on my card. I want to see this thing
20 worked out where everyone is brought to the table.

21 One thing we're disagreeing with defendants on is a

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22 mediation. Judge Bassler spoke at that conference a long
23 time about mediation. We want the mediation to be here as
24 part of the mediation your Honor has ordered. The defendants

25 didn't agree to that. Their cover letter said, "No, we want

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1 something else." So I don't know how that's going to play
2 out. I suspect Judge Bassler is going to go with his

3 instincts and order that it happen here. That's certainly
4 something we encourage.

5 MR. BERMAN: Your Honor, this is Steve Berman.

6 THE COURT: I need some thought from the

7 plaintiffs' team about what makes sense here, and then I need
8 to know from the defense team. Although you don't have a

9 direct role in this, what happens in New Jersey will affect

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10 you. The last thing I want to do is to disqualify him if it

11 means that every class rep pulls out, and yet I'm worried

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12 here.
13 MR. BERMAN: Let me mention two things on that. If
14 the class reps pull out, which I think he's -- [I don't know

15 how he can do that consistent with his obligation to the

16 class, we've done an examination of this; and, unfortunately,

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17 because we didn't want it to be this way, we think 99 percent

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18 of the class reps that he currently has only bought drugs in

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19 2004 or later. And therefore, under your prior rulings, we

20 actually don't have consumer class reps for most of the

21 defendants at this point.

22 The second thing -- and I apologize I didn't point

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23 this out earlier -- on the trustworthy issue, when I talked
24 to Professor Green about this, I think I should disclose to

25 the Court that he was very upset. I mean, he said he

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1 couldn't call me for two days, he was so angry that
2 Mr. Haviland would file the internal workings, E-mails back

3 and forth of the settlement negotiations with the Court in

tee

4 open court, because one thing you do with Professor Green is,

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5 you sign a confidentiality statement that he thinks is like
6 the bible of how you have to conduct settlement

7 negotiations. So he was very upset and concerned that that

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8 happened and is trying to figure out, you know, going

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9 forward, if Mr. Haviland is one of the co-lead counsel, you

10 know, how could this work.

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11 MR. HAVILAND: Your Honor, we sought leave to put

12 that under seal, and we're still asking you. The request for
13 that is still before your Honor. /
14 THE COURT: When you filed it, did you file it with
15 a motion to seal?
16 MR. HAVILAND: We sent it to your Honor first as
17 your Honor had asked for with a request that it be put under
18 seal, so that if there was --

19 MR. BERMAN: It was filed on the ECF.
20 THE COURT: Was that a mistake in court chambers,
21 or was that a mistake of counsel?
22 MR. HAVILAND: Well, we don't know, your Honor. We
23 first sent it to you when your Honor asked for the
24 declaration, and we asked that it be treated under seal.
25 The ECF picked it up on the Friday before that hearing. We

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1 spoke to Robert, Mr. Sobol and I did, about sending a request

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2 under seal. IT submitted that to Tom --

3 THE COURT: Well, you must know. Did someone on

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4 your staff docket it on -- that's the only way it gets there

5 initially. Did someone forget to put it -- did someone send

6 it over the Internet? /
7 MR. HAVILAND: I think so, yes.
8 THE COURT: All right, so someone in your office |
9 made a mistake. |
10 MR. HAVILAND: Right, and what we asked for it to

11 be under seal, your Honor, consent for it to be under seal.

12 THE COURT: Well, it's that problem with the
13 Internet. We can pull it off, but once it's there --
14 MR. HAVILAND: Right, that's what we talked to

15 Robert about that day.

16 THE COURT: In any event, I don't know what to do.
17 I must say, as soon as I read it, I wanted to think about ait
18 for a few days. I want this. I'm not doing anything

19 precipitously. If anybody in this room wants to file some

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20 thoughts for me -- at this point I actually don't even have a

21 pending motion, and yet I do have certain fiduciary

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22 obligations as a court. In the meantime, regardless of how

23 this works, I need you to do something about that New Jersey

24 action. They're under the impression, because you said it,
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25 that you're pursuing a national class action. Regardless of

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whether you're co-lead or not, I'm going to enjoin that.
That needs to end with respect to the overlap here.

MR. HAVILAND: Right. I think your Honor's
suggestion to just stipulate to it, we're happy to do that
with Mr. Jackson and get the New Jersey court to enter it so
that your Honor then has that, which it shows in the record
in New Jersey it's not happened. That letter was sent in
response to a letter that Mr. Jackson had written asking
about the framework for the discussion with Judge Bassler,
and we cited, as I said, the complaint, which originally
sought the New Jersey class pre the Supreme Court in Vioxx,
pre any of this. So --

THE COURT: Well, I may be misremembering. I
believe that the Hagens Berman Sobol, whatever the whole name
of the firm is, filed a memo saying that it was basically
beyond dispute right now that you can't certify a state court
class action that's national. Something to that effect,
right? It was somewhere in one of your briefs, through state
court as opposed as through Federal Court.

MR. SOBOL: Oh, well, newly filed actions under
CAFA.

THE COURT: Right.

MR. SOBOL: But this is, Operating Engineers, the
New Jersey case is pre-CAFA.

THE COURT: So it's predating it.

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MR. SOBOL: Right. If your Honor may, I think that
the co-lead counsel -- well, it sounds like Mr. Haviland
would like to file something, so can we have a date for that
just so you would have a date that you would be expecting to
see something from us?

THE COURT: A week?

MR. SOBOL: Is that doable, Mr. Berman, a week?

MR. BERMAN: A week is fine.

THE COURT: I don't know if Baxter wants to say
anything or AstraZeneca. I don't know. I'm troubled. I
actually don't have anything in front of me. I sort of with
some misgivings, I guess, agreed to your settlement because
of the profound riff that had existed before and what I knew
about Judge Stearns's case and my concern about the
affidavits coming in that Friday before. I just bit my
tongue and I agreed to it on the theory that, well, it was --
it was a majority vote? Was that how it worked?

MR. SOBOL: Well, that's right, your Honor. And,
of course, aS you can expect, one of the reasons we entered
into the stipulation was to avoid the need for the Court to
have to grapple with the issues too.

THE COURT: In any event, I agreed to it and I
appointed him to it. And then literally within two days I
got this phone call, and I have been worried because it is, I

think, ultimately my call as to what's going to serve the

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best interest of the class, and there's now a trust issue.

MR. HAVILAND: Well, your Honor, since the time of
that agreement, we had a productive call. We don't want to
talk about the logistics of what's going on in the settlement
discussions, but it was raised, the issue of the rearview
mirror stuff, the BMS and the Astra settlement. And I
learned some things that I didn't know from the time that we
were taken out of the loop that were encouraging, that could
resolve that. And I don't want to say too much about where
that's at and where we're working, but we're working
cooperatively. A lot of the issues were vetted that they
hadn't been before, and that's essentially what we were
trying to get to when we reached the agreement with
Mr. Sobol.

THE COURT: I'm going to take this under
advisement. I just need to think about it. I obviously
wasn't going to do anything without seeing folks, but, for
example, I don't know how you represented to this New Jersey
court that you were co-lead counsel when that was so
embattled at that point.

MR. HAVILAND: Well, your Honor, in fairness, we
believed from the time that we came in in August of '05 that
all the papers had us listed as co-lead counsel. There never
was a dispute until AstraZeneca. That's the point in time

when it became a question. Your Honor had -- there was an

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1 entry of appearance for us in September, '05, so we never had
2 cause to question that as the Haviland Law Firm. When we
3 were Kline & Specter, there was never an express appointment
4 there either, so there was always that fifth chair, your
5 Honor, if you will. And so the embattlement came in
6 Track Two when we were talking about interim class counsel

7 becoming class counsel for Track Two, and that was the whole
8 issue of 23(g), not Track One where we had served with GSK

9 and Astra and the Track One defendants.

10 THE COURT: It says, "The undersigned lead counsel

11 for plaintiffs in this action have been recognized by the

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12 Boston Court as one of the co-lead counsels for class
13 plaintiffs in MDL 1456."

14 I think a fairer or truer statement would have been

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15 that this is -- you've taken the position that you've always
16 been one, the other lead counsel had taken the position that

17 you weren't, and this would be decided by me, right? I mean,

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18 I remember you always sitting back there and there not being
19 a battle, but I truthfully don't know the little nuances and

20 the niceties until it was briefed to me between the -- with

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21 the split-off from Kline & Specter and your new firms.

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22 MR. HAVILAND: And, your Honor, it was all done by

23 a consensus, and none of it was vetted, in fairness. I mean,

24 the original CMO had a firm Heins, Mills & Olson, which is no

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25 longer -- they're not even around anymore. They're still

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here, but they're not here. So there have been a lot of
changes since 2001.

THE COURT: And I agree you may or may not have had
a valid position, but at the time you wrote this letter, it
was a matter of huge acrimonious disagreement.

MR. HAVILAND: That's fair.

THE COURT: So it was a little misleading to this
court, the New Jersey court, and I knew what was going on.

MR. HAVILAND: But there was no intent, your Honor,
to deceive. By having it vetted, by having Judge Bassler
coordinate with your Honor to speak, we wanted this to be
open, discussed.

One of the problems, if I can go back to something
that I think is not a good thing to discuss is Lupron. We
didn't do that early on. We didn't have Judge Visalli from
Cape May County speak to Judge Stearns and Judge Brewster
(Phon), the special master, speak to Judge Stearns early. In
the summer of, I think, 2004, Judge Stearns was considering
an injunction against the state court case a month from
trial, and it was only at that point in time that the
dialogue began, that the coordination began, that the
resolution finally came a year later. That's why it's
productive to have it, your Honor, and I encourage that in
all of our cases.

THE COURT: And I think that is a good idea, and

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I've done it in the Neurontin cases. And I think over time,
I hope when I transfer some of these cases back, I'll be
talking to the judges in those federal district courts, and
when I start remanding cases to state courts, Till talk to
those state courts. I mean, I'm trying to get to stage two
of this big massive case. The federal government is starting
to unleash a bunch of qui tam actions. I mean, it's a huge
case, as you know, and I'll need to coordinate with the state
courts.

However, my basic obligation is to oversee this
case, and I am at this point troubled on the co-lead counsel
thing. And although there's been nothing pending in front of
me, I need your thoughts on what your position is and what's
in the best interest of the class. If you want to file
something, Mr. Haviland, you should probably do this within a
week. If anyone here wants to file something, you can.
Regardless of how I rule on it, I order that you dismiss any

of the cases that conflict with this one.

Now, you may have to do something -- I'm pointing
to the Baxter folks -- may have to do something with respect
to that case. I don't know. You do your own thing. I can't

have jurisdiction at this point over the rest of the case
that doesn't overlap with mine. I mean, you might be better
off there. I mean, I'm just swamped with this case, so you

might get better attention from what seems like a lovely and

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1 experienced, probably more experienced than I am, federal
2 judge who's doing this down in New Jersey for the state
3 court. So that's your call, but I need to take care of this
4 case.
5 MR. SOBOL: The July 27 letter that you mentioned,
6 it's a letter -- I just want to make sure -- we're going to
7 try and get copies because we'll need to read it.
8 THE COURT: July 27 to the Honorable William G.

9 Bassler from Donald D. Haviland, Jr., cc: John Keefe, Jr.,
10 Andrew Jackson, Esq., Michael Rosenberg. I'11l just leave it
11 here, and you can underline it.

12 MR. SOBOL: Well, Mr. Haviland has indicated that
13 he'll get us a copy now that I know exactly which letter it

14 is. Thank you.

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15 THE COURT: In any event, so something within a
16 week?
17 MR. JACKSON: Your Honor, to the extent that

18 they're going to file something, I think we'd like to look at

19 it. first --

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20 THE COURT: Fair enough. /
21 MR. JACKSON: -- before the defendants either here
22 or in New Jersey or elsewhere. I mean, we'd like to see it,
23 and then we'll decide whether we need to respond.
24 THE COURT: To the extent the case does stay in

25 New Jersey, though, Judge Bassler and I are talking. As you

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1 know, Judge Bowler is the coordinating magistrate judge on

2 this case -- I gave him her phone number -- to the extent

3 there are outstanding discovery issues that could be

4 coordinated between the two actions, and I am happy to help
5 that out. That having been said, as soon as we stay it with
6 respect to all the cases that are here, I'm not sure that
7 there will be a lot of overlap anymore.

8 MR. HAVILAND: Your Honor, can I show you the case

9 management order that's under consideration just so you can
10 see that we've already got that built in?

11 THE COURT: Okay. I think that's it, right?

12 MR. SOBOL: Thank you, your Honor.

13 THE CLERK: Court is in recess.

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14 (Adjourned, 10:45 a.m.)

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CERTIFICATE

UNITED STATES DISTRICT COURT )
DISTRICT OF MASSACHUSETTS ) ss.

CITY OF BOSTON )

I, Lee A. Marzilli, Official Federal Court
Reporter, do hereby certify that the foregoing transcript,
Pages 1 through 30 inclusive, was recorded by me

stenographically at the time and place aforesaid in Civil

Action No. 01-12257-PBS, MDL No. 1456, In re: Pharmaceutical

Industry Average Wholesale Price Litigation, and thereafter

by me reduced to typewriting and is a true and accurate

record of the proceedings.

In witness whereof I have hereunto set my hand this

13th day of September, 2007.

/s/ Lee A. Marzilli

LEE A. MARZILLI, CRR
OFFICIAL FEDERAL COURT REPORTER

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